                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                      5:21-CV-0844-XR
                                    §                      (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §

          DEFENDANT TRAVIS COUNTY DISTRICT ATTORNEY JOSÉ GARZA’S
         UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE ANSWER TO
         PLAINTIFFS HOUSTON AREA URBAN LEAGUE, DELTA SIGMA THETA
       SORORITY, INC., THE ARC OF TEXAS, MI FAMILIA VOTA, MARLA LÓPEZ,
        MARLON LÓPEZ, PAUL RUTLEDGE, AND JEFFREY LAMAR CLEMMONS’
        SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                              RELIEF [ECF NO. 199]

TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW Defendant Travis County District Attorney José Garza (“District Attorney

Garza”) and files this Unopposed Motion for Extension of Time to File Response to

Plaintiffs’ Second Amended Complaint [ECF No. 199] filed by Plaintiffs Houston Area

Urban League, Delta Sigma Theta Sorority, Inc., The Arc of Texas, Mi Familia Vota, Marla

López, Marlon López, Paul Rutledge, and Jeffrey Lamar Clemmons.1 In support thereof,

District Attorney Garza states as follows:

                                                     I.

           HAUL Plaintiffs filed their Second Amended Complaint for Declaratory and Injunctive

Relief on January 18, 2022 [ECF No. 199]. District Attorney Garza was served with the Second

Amended Complaint on February 17, 2022, making his current answer due March 10, 2022.




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    Collectively referred to as “HAUL Plaintiffs”.
        District Attorney Garza respectfully requests that the Court grant a five (5) business-day

extension of time to file his Response to HAUL Plaintiffs’ Second Amended Complaint. District

Attorney Garza does not seek this motion for delay, but for good cause. This motion will not

prejudice Plaintiffs as they do not oppose the relief requested. This extension is necessary to

permit District Attorney Garza and his counsel sufficient time to further explore the appropriate

responsive pleading to be filed on behalf of District Attorney Garza at this time. The extension

of time is warranted in the interest of justice, and to conserve the resources of the parties.

        Pursuant to Local Rule CV-7(i), counsel for District Attorney Garza has conferred with

HAUL Plaintiffs’ counsel regarding the relief requested in the Motion. HAUL Plaintiffs do not

oppose this extension.

                                           II.      CONCLUSION

        For the foregoing reasons, the Court should grant District Attorney Garza’s unopposed

motion for extension of time to file his Response to HAUL Plaintiffs’ Second Amended

Complaint, up to and including March 17, 2022.


                                                     Respectfully submitted,
                                                     DELIA GARZA
                                                     County Attorney, Travis County
                                                     P. O. Box 1748
                                                     Austin, Texas 78767
                                                     Telephone: (512) 854-9513
                                                     Facsimile:     (512) 854-4808

                                                     SHERINE E. THOMAS
                                                     State Bar No. 00794734
                                                     Sherine.Thomas@traviscountytx.gov
                                                     LESLIE W. DIPPEL
                                                     State Bar No. 00796472
                                                     Leslie.Dippel@traviscountytx.gov



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                                            By:      /s/ Anthony J. Nelson
                                                     Anthony J. Nelson
                                                     State Bar No. 14885800
                                                     Tony.Nelson@traviscountytx.gov
                                                     Patrick T. Pope
                                                     State Bar No. 24079151
                                                     Patrick.Pope@traviscountytx.gov

                                                     ATTORNEYS FOR DEFENDANT
                                                     JOSÉ GARZA, IN HIS OFFICIAL CAPACITY
                                                     AS TRAVIS COUNTY DISTRICT ATTORNEY


                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of this motion was served through the Court’s

CM/ECF Document Filing System upon each attorney of record and the original upon the Clerk

of Court on this the 10th day of March, 2022.


                                                              /s/ Anthony J. Nelson
                                                              ANTHONY J. NELSON
                                                              Assistant County Attorneys


                                   CERTIFICATE OF CONFERNCE

        I certify that on March 9, 2022, counsel for Travis County District Attorney José Garza

conferred with HAUL Plaintiffs’ counsel regarding the filing of Travis County District Attorney

José Garza’s Unopposed Motion for Extension of Time to File Response to HAUL Plaintiffs’

Complaint. Counsel for HAUL Plaintiffs indicated they are UNOPPOSED to this motion.

                                                              /s/ Anthony J. Nelson
                                                              ANTHONY J. NELSON
                                                              Assistant County Attorney




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